FORM−ADMRESC


                         UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF ARIZONA

In re:                                                   Case No.: 2:16−bk−11909−BKM

   Associated Thoracic & Cardiovascular Surgeons, Ltd. Chapter: 11
   PO BOX 14390
   Scottsdale, AZ 85267−4390
   SSAN:
   EIN: 86−0229055

Debtor(s)


                              NOTICE OF RESCHEDULED HEARING

   NOTICE IS HEREBY GIVEN that the hearing scheduled for 7/13/21 at 11:00 AM has been vacated.


  This matter has been RESCHEDULED for hearing on 7/7/21 at 11:00 AM at before the Honorable Brenda K.
Martin to consider and act upon the following matter:

CONTINUED CHAPTER 11 POST−CONFIRMATION STATUS HEARING

**This will be a telephonic hearing. To appear parties will need to call 877−336−1829, access code 5564497**

Date: May 18, 2021

Address of the Bankruptcy Clerk's Office:                Clerk of the Bankruptcy Court:
U.S. Bankruptcy Court, Arizona
230 North First Avenue, Suite 101                        George Prentice
Phoenix, AZ 85003−1727
Telephone number: (602) 682−4000
www.azb.uscourts.gov
